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 1                                                    The Honorable John C. Coughenour
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 7                    UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF WASHINGTON
 8
                                  AT SEATTLE
 9
     UNITED STATES OF AMERICA,                      CASE NO. CR20-092 JCC
10
                          Plaintiff,
11
                     v.
12
     (1)    ALAN GOMEZ-MARENTES (aka
13                                         UNITED STATES’ REPLY IN
            GUAJAS),
14                                         SUPPORT OF MOTION TO
     (2)    JUAN ANTONIO GONZALEZ-
                                           CONTINUE TRIAL DATE [Dkt. 223]
            CARRILLO (aka TOTO),
15
     (3)    LUIS ARTURO MAGANA-
16          RAMIREZ (aka GUERO),
     (4)    JOSE ELIAS BARBOSA (aka PRIMO,
17
            aka PRIETO),
18   (5)    JOSE DANIEL ESPINOZA (aka
            APACHE),
19
     (6)    ESTEFHANY COREA-MENDOZA
20          (aka SICARIA),
     (7)    ADRIAN IZAZAGA-MARTINEZ,
21
     (8)    JORGE MONDRAGON,
22   (9)    BENJAMIN FUENTES (aka
            CHANCHAS),
23
     (10)   LUIS ZAVALZA-SANCHEZ (aka
24          FLAKO),
     (11)   ALYSHA JONES (aka MANDY),
25
     (12)   ARMANDO FIERRO-PONCE,
26   (13)   AMANDA MEYER,
     (14)   MICHAEL ANDREW WOOD,
27
     (15)   LUIS CASTILLO-BARRAGAN,
28   (16)   EFRAIN LUNA-RODRIGUEZ,
     UNITED STATES’ REPLY IN SUPPORT OF MOTION TO CONTINUE        UNITED STATES ATTORNEY
                                                                 700 STEWART STREET, SUITE 5220
     TRIAL DATE - 1                                                SEATTLE, WASHINGTON 98101
     United States v. Gomez-Marentes, et al. / CR20-092 JCC              (206) 553-7970
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 1        (17)     JULIAN PINEDA CASILLAS,
          (18)     BLANCA MEDINA,
 2
          (19)     RUTH MELISA GOMEZ-
 3                 MARENTES, and
          (20)     ADRIAN SIMS,
 4
 5                                  Defendants.
 6
 7               The United States of America, by and through Brian T. Moran, United States

 8 Attorney for the Western District of Washington, and Amy Jaquette and Marci L.
 9 Ellsworth, Assistant United States Attorneys for said District, files this reply in support of
10 its motion to continue the trial date, presently set for September 21, 2020.
11        On August 25, 2020, defendant Luis Arturo MAGANA-RAMIREZ filed an

12 opposition to the motion (Dkt. 249), and on August 28, 2020, defendant Jose Daniel
13 ESPINOZA joined this opposition (Dkt. 251). The defendants assert their rights under the
14 Constitution and the Speedy Trial Act, 18 U.S.C. § 3161, et seq. (Dkt. 249 at 1), and
15 contend that trial should proceed as scheduled because they are detained and at risk of
16 contracting COVID-19 while incarcerated at the SeaTac Federal Detention Center (FDC
17 SeaTac). (Dkt. 249 at 2.) The government previously set forth case law establishing that
18 a reasonable trial continuance as to any defendant tolls the Speedy Trial Act period as to
19 all joined co-defendants. It now seeks to file this reply on the narrow issue of COVID-19
                  1
20 at FDC SeaTac.
21       There is no doubt that a rise in the number of COVID-19 cases in this correctional

22 setting has raised concerns. But the fact that the virus has entered the institution where
23 MAGANA-RAMIREZ and ESPINOZA are housed, standing alone, is not a basis to deny
24 the motion, particularly when neither defendant claims to be at particular risk from
25 COVID-19 and the disease is still circulating in the outside community.
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28   1
         As of August 30, 2020, some 31 individuals housed at this institute and 6 staff have tested positive for the virus.

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 1             Moreover, the institution has taken every measure available to ensure that the virus
 2 does not spread more broadly. Since the start of the pandemic, the Bureau of Prisons and
 3 FDC SeaTac have made extensive efforts to prevent the spread of disease within the
 4 institution, doing their best to adapt to the changing advice on how to manage the risks
 5 from this virus. Beginning in March, FDC SeaTac began a process of screening for
 6 incoming inmates and regular screening for staff. Contact visits were limited to essential
 7 services and attorney, social, and volunteer visits were suspended to ensure that the virus
 8 did not enter the facility. BOP also limited inmate movements between facilities and took
 9 steps to modify operations to maximize social distancing such as staggering times for meals
10 and recreation. FDC SeaTac has ensured that sufficient cleaning and sanitation supplies
11 are available to both inmates and staff. When it became clear that face coverings would
12 help halt the spread, BOP supplied these items to inmates and staff. The BOP also
13 increased testing, including testing and quarantining inmates entering the facility as well
14 as locking down facilities to halt any spread. These various efforts are summarized in the
15 testimony by the Director of BOP before the Senate Judiciary Committee on June 2, 2020.2
16             In July, as BOP changed its operations to allow more transfers of inmates to
17 designated institutions, FDC SeaTac, along with all other BOP institutions, quarantined all
18 inmates entering the institution and began testing all arriving and departing inmates. Any
19 inmate who tested positive for the virus was immediately placed in isolation along with
20 any inmate who contact tracing revealed had been in close/direct contact with the inmate.
21 Contact tracing has also been performed with respect to any staff member who tests
22 positive for the virus. Any individual who has been in close/direct contact with such a staff
23 member is also isolated and tested. And any inmate who has tested positive receives
24 regular monitoring by the medical staff. While the institution has not been successful in
25 keeping out the virus, it certainly has made every effort to ensure the health and safety of
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28       See https://www.bop.gov/resources/news/pdfs/06022020_written_statement.pdf

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 1 the inmates in its care. Although privacy reasons prevent institution-wide disclosure of the
 2 identities of those testing positive to the virus, those who have been exposed are obviously
 3 made aware of that fact when they are placed in isolation and quarantined.
 4         Although not raised as an issue by the defendants, the institution has also made
 5 efforts to ensure that defendants have sufficient access to counsel. The defendants can
 6 communicate with counsel through telephone calls, video meetings, and can now arrange
 7 in-person meetings with defendants in a socially distant manner. Further, through an
 8 arrangement with the United States Attorney’s Office designed to assist communication
 9 with counsel during the pandemic, the defendants can also use the TRULINCS email
10 system for that purpose. To facilitate communication during the pandemic, the government
11 agreed that the prosecution team in the Western District of Washington will only be able
12 to review the email of defendant housed at FDC SeaTac after the email has been screened
13 to ensure no attorney-client communications are revealed.
14         Faced with the novel and immense challenges that the COVID-19 pandemic has
15 presented, FDC SeaTac has attempted to do everything to both keep inmates safe and to
16 protect the defendants’ right of access to counsel. Accordingly, and based on the reasons
17 set forth in the government’s original motion to continue, the COVID-19 pandemic does
18 not provide a basis for denial of the motion to continue.
19         DATED this 1st day of September 2020.
20
                                                     Respectfully submitted,
21
                                                     BRIAN T. MORAN
22
                                                     United States Attorney
23
24                                                   s/ Amy Jaquette
                                                     AMY JAQUETTE
25                                                   MARCI L. ELLSWORTH
26
                                                     Assistant United States Attorneys
27                                                   Telephone: (206) 553-4127
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                                                             marci.ellsworth@usdoj.gov
     UNITED STATES’ REPLY IN SUPPORT OF MOTION TO CONTINUE              UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
     TRIAL DATE - 4                                                      SEATTLE, WASHINGTON 98101
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